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                                                                                              E-FILED
                                                          Tuesday, 13 September, 2016 11:30:14 AM
                                                                      Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS

JEFFRY KELLY, individually and on
behalf of all other similarly situated
individuals,

              Plaintiff,
       v.                                           Case No. 3:15-cv-03277-SEM-TSH

Killion Communications Consultants,
Inc.,

              Defendant.

STIPULATION OF DISMISSAL OF RODNEY WILKERSON WITHOUT PREJUDICE

        Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, opt-in/consent Plaintiff

Rodney Wilkerson and Defendant Killion Communications Consultants, Inc., through their

undersigned counsel, hereby stipulate and agree that all of Mr. Wilkerson’s claims in the above-

captioned action shall be dismissed in their entirety, without prejudice, and with each party

bearing his or its own costs, expenses, and attorneys’ fees with respect to Mr. Wilkerson’s

claims. The parties further stipulate and agree that an order dismissing Mr. Wilkerson from the

above-captioned action shall be entered without further notice or hearing. A Proposed Order

Dismissing Mr. Wilkerson without Prejudice has been filed as an attachment to this Stipulation.

                                            Respectfully submitted,

DATED: September 13, 2016                   s/Jason P. Hungerford
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                                              Attorneys for Plaintiff Jeffrey Kelly and the
                                              collective.


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                                              Attorneys for Defendant Killion Communications
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                                CERTIFICATE OF SERVICE

       I certify that on September 13, 2016, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to the following:

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                                              s/Jason Hungerford




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